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        EXHIBIT
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From: Tim Sweeney <tim.sweeney@epicgames.com>
Date: July 17, 2020 at 1:49:23 PM PDT
To: Tim Cook <tcook@apple.com>, Phil Schiller <schiller@apple.com>, Craig Federighi
<federighi@apple.com>, Matt Fischer <matt.fischer@apple.com>, Douglas Vetter <vetter@apple.com>
Cc: Canon Pence <canon.pence@epicgames.com>
Subject: Re: Response to June 30 Email


Hi Tim, Phil, Craig, Matt, Douglas,

It’s a sad state of affairs that Apple's senior executives would hand Epic's sincere request off to Apple's
legal team to respond with such a self-righteous and self-serving screed -- only lawyers could pretend
that Apple is protecting consumers by denying choice in payments and stores to owners of iOS devices.
However, I do thank you for the prompt response and clear answer to my two specific requests.

If Apple someday chooses to return to its roots building open platforms in which consumers have
freedom to install software from sources of their choosing, and developers can reach consumers and do
business directly without intermediation, then Epic will once again be an ardent supporter of Apple.
Until then, Epic is in a state of substantial disagreement with Apple's policy and practices, and we will
continue to pursue this, as we have done in the past to address other injustices in our industry.

Tim Sweeney

On Fri, Jul 10, 2020 at 5:02 PM Douglas Vetter <vetter@apple.com> wrote:
 Mr. Pence, please find attached Apple’s response to Mr. Sweeney’s email to Apple of June 30, 2020.




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